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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 

BID PROTEST
AMAZON WEB SERVICES, INC., REDACTED VERSION
Plaintiff,
Vv.
Case No. 19-cv-01796
UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense, Judge Campbell-Smith
mene aa
and
MICROSOFT CORPORATION,

Defendant-Intervenor.

 

 

PLAINTIFF’S i) RESPONSE IN OPPOSITION TO
DEFENDANTS’ PARTIAL MOTIONS TO DISMISS
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INTRODUCTION

Plaintiff Amazon Web Services, Inc. (“AWS”) requests that the Court deny the Partial
Motions to Dismiss filed by Defendant United States, acting by and through the Department of
Defense (“DoD”), and Defendant-Intervenor Microsoft Corporation (“Microsoft”) (collectively,
‘“Defendants”), to dismiss Counts 3, 5, 6, and 7 of AWS’s complaint on the basis of waiver.

AWS protests a fundamentally flawed procurement process where the evaluations and
award decision were infected by bias, which ultimately steered the JEDI contract to Microsoft. By
miscasting AWS’s protest as a challenge to the “the terms of competition” and citing Blue & Gold
Fleet, L.P. v. United States, 492 F.3d 1308 (Fed. Cir. 2007), Defendants contend AWS has
“waived” its right to protest because it did not file its protest prior to award—that 1s, before AWS
learned of DoD’s evaluations and saw evidence of actual bias. Def.’s Mot. to Dismiss (Gov.
Mot.”) at 5-6, ECF No. 132; Intervenor Def.’s Mot. to Dismiss (“MS Mot.”) at 9, ECF No. 133.
In fact, Defendants go even further, arguing that AWS should have filed its protest before final
proposals were even evaluated. Gov. Mot. at 5-6; MS Mot. at 9.

Defendants’ arguments are specious. AWS does not challenge the terms of the JEDI
solicitation or even the “terms of competition.” AWS challenges the evaluation of offerors’ bids.
As the Federal Circuit has aptly stated: “[A] bidder cannot be expected to challenge an agency’s
evaluation of bids, in contrast to the terms of solicitation, wnfti] the evaluation occurs.” Bannum,
Inc. v. United States, 779 F.3d 1376, 1381 (Fed. Cir. 2015) (emphasis added). That straightforward
principle compels denial of Defendants’ motions.

Defendants’ arguments also conflict with conmon sense and practicality. AWS could not
have forecasted that President Trump’s bias would infect the evaluation process and cause DoD

source selection officials to award the JEDI contract to Microsoft erroneously. Defendants

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effectively suggest that AWS was immediately required to file a protest after every presidential
tweet (some of which—as the Government and Microsoft emphasize—occurred before the
President was even elected). That position conflates AWS’s knowledge of the President’s personal
animus against Jeff Bezos, Amazon, and the Washington Post with knowledge that the actual
evaluation process for the JEDI procurement had succumbed to improper influence and was “so
grossly erroneous as to imply bad faith.” Gadsden y. United States, 111 Ct. Cl. 487, 490 (1948).

Defendants’ position also creates a ripeness dilemma and raises serious timimg uncertainty
for protestors. Any pre-award protest of a presidential tweet would not be concrete injury, let
alone final agency action or action redressable by a court order. Indeed, had AWS filed serial
protests each time President Trump expressed his anti-Amazon bias, the Court would have
dismissed those protests as unripe at the Government’s urging, and told AWS to refile once DoD
had awarded the contract and articulated its basis for the award. Defendants’ sweeping take on
“waiver,” if adopted, would prompt a flood of premature and defensive filings dwarfing the
unnecessary “expensive” litigation that Ble & Gold’s equitable doctrine was designed to screen
out.

A presumption of good faith and regularity applies to government officials, but that
presumption has its limits. Cf MS Mot. at 19. DoD’s thin and tortured analysis of the evaluation
factors that accompanied its notice of award (including ignoring objective evaluation criteria,
maisstating the substance of the offerors’ proposals, and creating false equivalence between
offerors), and DoD’s post-award refusals to respond to AWS’s post-debriefing questions, miade it
clear that the evaluations and resulting award decision were incurably tainted. It was only then
that AWS’s complaints of bias became ripe and subject to the rules for a timely protest filing.

Precedent and prudential considerations require denial of Defendants’ motions.

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QUESTION PRESENTED

Are Counts 3, 5, 6, and 7 of AWS’s complaint timely asserted where AWS did not know

that bias tainted the evaluations by DoD personnel before learning of DoD’s evaluation or award?
FACTUAL BACKGROUND

On October 25, 2019, DoD announced it had awarded the $10 billion, ten-year JEDI
contract to Microsoft. Compl. 9 31, 188.! DoD foreclosed any opportunity for AWS to request
or obtain an in-person debriefing; instead, on the same day as the announcement of the award,
DoD provided AWS a written debriefing regarding the evaluation results. See id. | 189. DoD’s
post-award debriefing materials revealed blatant and inexplicable errors by DoD decision-makers
to justify their award to Microsoft. These substantial and pervasive errors affected nearly every
evaluation factor, and included egregious missteps like ignoring critical aspects of AWS’s
technical proposal and overlooking key shortcomings in Microsoft’s proposal, all of which created
false parity between the offerors. See, e.g., id. J] 2—9; see generally id. J¥ 110-73.

As authorized by law, AWS submitted detailed debriefing questions, including several
relating to the integrity of the source selection process and concerns that the President’s anti-
Amazon rhetoric had resulted in evaluations and an award decision tainted by bias and bad faith.
See id. J 190; 10 U.S.C. § 2305(b)(5)(B)(vii), (C). But despite its legal obligations, see 10 U.S.C.
§ 2305(b)(5); 48 C.F.R. § 15.506(d), DoD refused to respond substantively. DoD’s refusal to
answer questions regarding evaluations and potential bias, coupled with the fact that the limited
answers it did provide showed numerous inexplicable errors, Compl. {fj 190-91, gave AWS reason

to believe that bias had corrupted the source selection process.

 

1 DoD made the award decision at least as early as October 17, 2019, but it did not reveal that it
had done so until the public announcement on October 25, 2019. Compl. { 186.

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That belief was further bolstered when, after award, news reports revealed that President
Trump had directly interfered with DoD’s JEDI procurement by instructing his then-Secretary of
Defense James Mattis to “screw Amazon” out of the JEDI Contract. id. 99 19, 32,91. This fact
became public and known to AWS through a book released on October 29, 2019. See id. 991
n.35. It was also during this immediate post-award period that AWS became aware of the unusual
timing and circumstances surrounding Secretary Esper’s recusal from the JEDI process, which
DoD announced on October 22—days after the award decision had been made within DoD, but
still before the public award announcement. /d. 930. The reason DoD cited for the recusal—
Secretary Esper’s adult son’s employment at IBM—is mystifying, given that his son had already
been employed at IBM for nearly eight months, and that DoD had already eliminated IBM as a
contender from the JEDI Contract more than six months earlier. Jd. The timing of the recusal also
calls into question whether it was pretextual because it occurred long after Secretary Esper had
inserted and involved himself into the JEDI review process in August 2019, and after the Source
Selection Authority had executed the Source Selection Decision Document awarding the JEDI
Contract to Microsoft on October 17, 2019. Jd. FJ 29-30. Moreover, DoD’s October 22 statement
that the “[t}he JEDI procurement will continue to move to selection through the normal acquisition
process run by career acquisition professionals,” id. J 187 n.58, was misleading because, post-
award, AWS leamed that the Source Selection Authority had actually made her award decision
Jive days before that public announcement, id. § 186. AWS was not aware of any of these factual
developments until after the award decision.

After beconmng aware of these facts, AWS promptly filed its bid protest complaint,
asserting seven claims, four of which—Counts 3, 5, 6, and 7—are at issue in Defendants’ motions.

All four challenge the proposal evaluation process: none challenges the solicitation terms or any

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other analogous scenario to which the waiver doctrine has been found to apply. Count 3 raises a
claim for wrongful deprivation of competitive advantage, alleging that “[t]hroughout the JEDI
procurement process, DoD—without any technical justification—took affirmative steps to deprive
AWS of its competitive advantage over Microsoft ... so that DoD could justify its award to a
technically inferior competitor.” Jd. 211. Count 5 asserts a claim of bias and bad faith, alleging
that the “DoD officials responsible for the JEDI solicitation ... engaged in arbitrary, capricious,
and unlawful conduct through [their] biased, bad-faith decision making in [their] proposal
evaluations and award decision.” Jd. 4220. Count 6 alleges that “DoD’s evaluation of AWS’s
proposal and award decision violated numerous procurement statutes and regulations.” Jd. 7225.
And Count 7 alleges that, as a result of the bias and bad faith, DoD breached the implied contract
of good faith and fair dealing when it failed to “consider all bids fairly and honestly” and conducted
the procurement in “an arbitrary, capricious, and irrational manner.” Jd. {J 232-33.
LEGAL STANDARD

The Court must deny a motion to dismiss if the plaintiff has alleged facts sufficient “to
‘state a claim to relief that is plausible on its face.’” Duffy v. United States, 120 Fed. Cl. 55, 61
(2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A plaintiff need only “plead[] factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Jgbal, 556 U.S. at 678. In evaluating a motion to dismiss, the court
“accept[s] all facts pleaded in the complaint as true,” Zurping v. United States, 913 F.3d 1060,
1064 (Fed. Cir. 2019), and “construe[s] them ina light most favorable to the plaintiff,” Cambridge

y. United States, 558 F.3d 1331, 1335 (Fed. Cir. 2009).
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ARGUMENT

Defendants’ motions hinge entirely on their invocation of Blue & Gold’s waiver doctrine.
Generally, a protestor generally may challenge a solicitation, award, or any alleged violation of a
procurement statute “before or after the contract is awarded,” 28 U.S.C. § 1491(b)(1) (emphasis
added). Blue & Gold created a narrow exception to this general rule, permitting a finding of waiver
where an offeror fails to challenge patent defects in a solicitation prior to the close of bidding. 492
F.3d at 1315. The Federal Circuit designed this narrow doctrine to prevent bidders from “roll[ing]
the dice” to see if they will win an award despite a patent esror in the solicitation, id. at 1314, and
to avoid “after-the-fact litigation” of issues related to the solicitation that “could have been raised
prior to the close of bidding,” Per Aarsleff A/S v. United States, 829 F.3d 1303, 1313 (Fed. Cir.
2016).

This Court has never applied Blue & Gold’s waiver doctrine to a bid protest challenging
the evaluation of bid proposals, as AWS challenges here. Indeed, this Court has squarely held the
opposite—that Blue & Gold’s waiver doctrine does not apply to a “challenge to [the agency’s]
evaluation.” Caddell Constr. Co. v. United States, 125 Fed. Cl. 264, 272 (2016). Defendants’
motions thus fail as a matter of black-letter law.

A. The Bine & Gold Waiver Rule Does Not Bar AWS’s Claims Because They Are
Challenges to the Evaluation

Blue & Gold permits a finding of waiver where a party is on notice of patent errors in the
terms of a solicitation prior to award, but fails to protest. Blue & Gold, 492 F.3d at 1313 (emphasis
added); see COMINT Sys. Corp. v. United States, 700 F.3d 1377, 1383 (Fed. Cir. 2012) (extending
waiver doctrine to solicitation amendments). Counts 3, 5, 6, and 7 plainly challenge DoD’s JEDI
evaluation and award decision—not the terms of the JEDI solicitation—and therefore, they are

beyond the scope of Blve & Go/d and its progeny.

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1. AWS’s Claims Arise from DoD’s Improper Evaluations and Award Decision, Not
the Terms of the Solicitation.

AWS based its protest on errors that surfaced in DoD’s proposal evaluations and award
decision; AWS does not challenge the terms of JEDI solicitation itself.

Counts § and 7. AWS based both Counts 5 and 7 on allegations that DoD’s bias and bad
faith against AWS resulted in erroneous proposal evaluations and influenced the ultimate award
decision. Specifically, Count 5 alleges DoD evaluators’ bias and bad faith “resulted in an
unreasonable evaluation”” Compl. § 220 (emphasis added). In particular, it alleges “President
Trump{] ... improperly influenced DoD officials responsible for the JEDI solicitation” to become
biased and act in bad faith to reach an “unreasonable evaluation [that] unfairly deprived AWS of
the JEDI award.” Jd. Similarly, Count 7 alleges DoD’s execution of the procurement in bad faith
and in a biased manner breached the implied contract of good faith and fair dealing. Jd. J] 230-
34. Neither count alleges any error in the JEDI solicitation. Rather, both Counts 5 and 7 allege
DoD’s bias and bad faith compromised its proposal evaluations and award decision. AWS
necessarily could not have brought such claims prior to DoD’s post-award debriefing following
award to Microsoft. Arceordiaglys both claims are beyond the scope of the waiver doctrine
articulated in Blue & Gold.

Count 6. Count 6 alleges “DoD’s evaltiation of AWS’s proposal and award decision
violated numerous procurement statutes and regulations.” Compl. § 225 (emphasis added). It also
encompasses challenges based on DoD’s violations of other applicable procurement laws and
regulations, including but not limited to “regulatory requirements to treat offerors impartially” and
“to evaluate proposals exclusively against stated evaluation criteria.” Jd. In particular, the alleged
violation of conflict of interest provisions—that DoD political appointees and procurement

personnel understood their continued employment depended on making evaluations consistent

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with President Trump’s directive that AWS not be awarded the JEDI Contract—is a challenge to
the evaluation process, not a challenge based on a patent error in the solicitation. Jd. J] 225-27.
AWS therefore has not waived this Shafienge. Blue & Gold, 492 F.3d at 1313; see also supra,
p. 62

Count 3. Count 3 is a challenge to the biased conduct that steered the contract toward
Microsoft, which AWS could not have known until after contract award. See AshBritt, Inc. v.
United States, 87 Fed. Cl. 344, 369 (2009) (barring government personnel from “engag[ing] in
conduct that favors one offeror over another”). After proposals had been submitted and after
meeting with both offerors, DoD changed its interpretation of the RFP’s classified infrastructure
requirements to prohibit offerors from relying on existing classified data architecture, and required
offerors to price certain [a “to streamline operations and
lower costs under the Price Scenarios.” Compl. ff 24, 212; MS Mot. at 20-21 (noting Amendment
0005 “amended the pricing scenarios to ‘further clarify’ their requirements ... address[ing] a
discrepancy between the offerors’ initial proposals”). As a result of those new interpretations,

AWS adjusted its proposal, which increased AWS’s total evaluated price by nearly (poo arma.

 

* Defendants do not seriously contend Count 6’s claims for violations of other provisions of the
Federal Acquisition Regulation are untimely. For example, AWS’s claim also alleges DoD
violated the FAR’s requirements to treat offerors impartially and to evaluate proposals
exclusively against stated evaluation criteria. See Compl. §{[ 227-28 (citing 48 C.F.R.
§§ 3.101-1, 15.305). These violations occurred during the evaluation process, and thus AWS
could not have brought these challenges before the award decision. Defendants do not argue
that AWS’s claims based on errors in the evaluation process—i.e., Counts 1, 2, or 4—were
untimely, and there is accordingly no basis for the Court to deem those same claims untimely
under Count 6. See ATSC Aviation, LLC v. United States, 141 Fed. Cl. 670, 693-94 (2019)
(holding that protest alleging agency deviated from solicitation was not untimely because the
deviation “did not become apparent until after the ... award decision”).

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The underlying basis for Amendment 0005—bias favoring Microsoft—was not known,
and could not have been known, until AWS received its debriefing. DoD’s debriefing showed that
DoD’s award of the JEDI Contract to Microsoft was based on strained evaluations of Microsoft’s
technically noncompliant proposal. The debriefing made clear that Amendment 0005—which
occurred after DoD had commented discussions with the offerors—was intended to deprive AWS
of its competitive advantages over Microsoft that became evident during DoD’s evaluation. See
AR Tab 338 at 151400 (“Sub-section 5 was revised to clanfy what classified infrastructure
includes ... The subsection was clear and unambiguous as previously written. However, during
Oral Discussions with both Offerors it was determined that Sub-section 5 would benefit from
further clarification of what is and is not prohibited under this clause to avoid any contract
execution issues.”). Although AWS submitted questions to DoD to understand the intent behind
the changes in Amendment 0005, AR Tab 488 at 18000102, 180049 (questions regarding
changes to classified infrastructure provisions), 180048 (questions regarding changes pertaining
to [emaeonnenel DoD rebuffed AWS’s inquiries. DoD’s failure to provide any basis for the
changes made clear that DoD did not have a technical justification for the Amendment, and that
DoD’s primary motivation and effect was to deprive AWS of some of its key comparative
advantages. This claim is not a challenge to the revised RFP terms themselves, but rather a
challenge to DoD “engag[ing] in conduct that favors one offeror over another.” As/Britt, Inc., 87
Fed. CL at 369.

In sum, because all of the foregoing challenges protest the Government's proposal
evaluations, not the JEDI solicitation, Bhie & Gold’s waiver doctrine simply has no application

here.
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2. Defendants Misconstrue the Scope of Blue & Gold.

Both the Federal Circuit and this Court have had ample opportunities to interpret and apply
Blue & Gold in the thirteen years since it was decided. Defendants seize on dicta in COMINT
Systems Corp. v. United States that the reasoning of Blue & Gold “applies to all situations in which
the protesting party had the opportunity to challenge a solicitation before the award and failed to
do so.” 700 F.3d at 1382. Based on that dicta, Defendants proclaim that “Bive & Gold’s waiver
rule applies to any defects in the procurement.” MS Mot. at 30 (emphases added); see also Gov.
Mot. at 12 (Blue & Gold’s waiver mile applies “when an interested party is aware of the basis of a
challenge to the ferms of a competition.” (emphasis added)). But the Defendants’ extension of
COMINT goes much too far.

COMINT addressed only whether patent errors in a solicitation had to be challenged before
award, even if the error became apparent only after bidding closed. See 700 F.3d at 1382; see also
ATSC, 141 Fed. Cl. at 694 (“The Federal Circuit [in COMINT] extended [Blue & Gold’s] waiver
rule to post-award challenges of a solicitation when the error arose in the interval between the
close of bidding and the award of the contract.”). COMINT did not expand Blue & Gold’s waiver
mule to clude challenges to evaluations. Rather, COMINT concemed a challenge to a patent
defect in a solicitation amendment—underscoring that the Federal Circuit’s decision in Blue &
Gold was lunited to challenges over a solicitation’s terns.

This Court has also repeatedly confirmed that COMINT did not alter or establish a new
standard for the type of challenge that may be waived. In particular, a “protest[] alleg[ing] pre-
award deficiencies in the procurement process” cannot be waived under Blue & Gold because the
waiver rule only “prevents [p]laintiff[s] from challenging solicitation terms.” Draken Int’], Inc. v.

United States, 120 Fed. Cl. 383, 393 (2015) (emphases added) (holding a delay in the procurement

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that made the process anti-competitive was not a term of the solicitation and thus not waived under
Blue & Gold), see also Caddell, 125 Fed. Cl. at 272 (holding Blue & Gold’s waiver rule does not
apply to a “challenge[] to the agency’s evaluation ... and its application of the prequalification
criteria and source selection criteria”); cf Sotera Defense Sols., Inc. v. United States, 118 Fed. Cl.
237, 253-54 (2014) (explaining COMINT only extended the Blue & Gold waiver tule “so that
protests of the terms of an amendment to a solicitation are waived if not raised before award”).
Moreover, “[t]he Federal Circuit has never addressed the applicability of the waiver rule outside
the context of a protest to a solicitation.” ATSC, 141 Fed. Cl. at 695 (emphasis added). At most,
then, COMINT stands for the proposition that challenges to solicitation amendments must be
brought before the award is made—which has no application to this case.

Defendants grossly over-read the scope of Blue & Gold in their attempt to assert waiver
here, but their position has no legitimate grounding in the law. Blue & Gold and its progeny
prevent a party with pre-award knowledge of a patent defect in the solicitation’s terms, or any
amendmeuts to such tenns, from bringing a post-award challenge to that patent defect. 492 F.3d
at 1313. The Blue & Gold waiver doctrine does not apply to post-award bid protests challenging
the evaluation itself (i.e., the application of the solicitation’s terms).

3. Cases Applying Blue & Gold Cited by Defendanis Do Not Apply to AWS’s
Evaluation Challenges.

None of the remaining cases Defendants offer in support of their broad reading of Blue &
Gold actually supports expanding waiver beyond the terms of a solicitation. See Gov. Mot. at 12—
14: MS Mot. at 29-31, 39-41. Beyond COMINT’s express extension of the waiver mule to
solicitation amendments, this Court has found three narrow circumstances that also constituted
challenges to the solicitation’s terms, and thus were subject to Blue & Gold: (1) certain conflict of

interest claims, (2) certain corrective action claims, and (3) certain claims that had already been

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considered by the Government Accountability Office (“GAO”) prior to a challenge at the Court.
Defendants’ characterization of these circumstances as “challenge[s] to the terms of a
competition,” Gov. Mot. at 12, neither expands the limited scope of the Bhie & Gold rule nor
renders them applicable to AWS’s challenge to the agency’s evaluation.

As this Court explained in ATSC, the conflict-of-interest claims in the cases cited by
Defendants, CRAssociates Inc. v. United States, 102 Fed. Cl. 698 (2011) (challenging failure to
amend solicitation to address potential couflicts of interest), and Concourse Group, LLC v. United
States, 131 Fed. Cl. 26 (2017) (chailenging individuals involved in the solicitation process),
represented “challenge[s] to the solicitation.” ATSC, 141 Fed. Cl. at 695. Communication
Construction Services, Inc. v. United States, 116 Fed. Cl. 233 (2014), relied upon by Microsoft,
MS Mot. at 31, also involved a challenge to the solicitation where protestor claimed that the
Government had violated a statutory prohibition by allowing a company to act as a subcontractor,
and where the terms of the solicitation “clearly informed offerors that [the company] could be a
subcontractor.” Conmmnc'n Constr. Servs., 116 Fed. Cl. at 261. Thus, “no extension of the waiver
rule occurred” in these cases. ATSC, 141 Fed. Cl. at 695.

The same is true for those cases cited by Defendants as purportedly involving bias and bad
faith, all of which entailed challenges to corrective actions that amended the agency’s source
selection approach, and thus fit easily within Bie & Gold’s solicitation-limited scope. See
Peraton Inc. v. United States, 146 Fed. Cl. 94, 100-102 (2019) (Campbell-Smith, J.) (finding
protestor’s bad faith claim moot and barred by Bie & Gold in post-award bid protest where agency
revised corrective action in response to preliminary injunction preventing agency from awarding
contract under proposal request that resulted from imitial corrective action taken in response to

GAO bid protest); Anham FZCO v. United States, 144 Fed. Cl. 697, 718-19 (2019) (finding

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protestor’s challenge to corrective action only after the agency made its second award decision
barred by Blue & Gold). And in Jacobs Technology, Inc. v. United States, the court held the
agency’s memorialized corrective action was a final agency decision such that a claim challenging
its scope as biased was ripe before award. 131 Fed. Cl. 430, 446-47 (2017). Quoting Blue &
Gold—with no mention of COMINT—the Jacobs court reasoned that because “a party who has
the opportunity to object to the terms of a government solicitation containing a patent error and
fails to do so ... waives its ability to raise the same objection” later, the bidder’s challenge to the
scope of a corrective action that the agency had formalized in writing would be untimely after the
new award decision. /d. The Jacobs court emphasized that the bidder was “not challenging the
Army’s execution of the corrective action”’—which would be analogous to the execution of the
source selection evaluation process—but was instead “challenging the scope” of the final agency
decision itself—analogous to the “scope” or “terms” of the solicitation. Jd. at 448.7

Finally, Defendants cite a series of cases where claims had already been raised before the
GAO and rejected on waiver grounds prior to protesting at the Court, but these too are inapposite.
In Synergy Solutions, Inc. v. United States, the court held a plaintiff waived its claim that the

agency failed to engage in meaningful discussions because it had twice already filed a protest at

 

3 Even if the Court were to accept Defendants’ suggestion that Jacobs and Synergy Solutions
expanded the Bie & Gold waiver mule to include certain claims not related to the terms of a
solicitation (and it should not), neither of those circumstances applies here. In Jacobs, the
court determined the protestor waived its claim by not timely bringing a pre-award bid protest
after the agency took a corrective action, which was “memorialized ... in a letter” and “resulted
in ‘irretrievable’ legal consequences.”” 131 Fed. Cl. at 447. By contrast, here, there were no
formal actions DoD took prior to the award decision that would have given rise to a mpe claim
for bias or bad faith. Similarly, in Syrergy, discussed infra, the court relied heavily on
equitable considerations—including the fact that the protestor had previously filed two related
protests before the GAO, and did not use those opportunities to raise its claim, bringing it for
the first time before the Court of Federal Claims. 133 Fed. Cl. at 739. Unlike the protestor in
Synergy Solutions, AWS brought its challenge to DoD’s award decision at the first opportunity.

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the GAO before protesting the agency’s corrective action before the Court, and had an opportunity
to raise the claim at GAO but failed to do so—twice. 133 Fed. Cl. 716, 736-40 (2017). Those
facts bear no resemblance to those here. And indeed, this Court consistently has limited Synergy
to its facts.

For example, in ATSC, this Cowt rejected an argument under Synergy (and COMINT)
nearly identical to Defendants’ argument here. The plaintiff in A7SC argued it could not have
discovered until after award that the agency “did not actually care” about non-price ratings, which
should have driven the award to the plaintiff. ATSC, 141 Fed. Cl. at 693-94. In response, the
ATSC defendants, like Defendants here, argued Synergy shows that “COMINT ... expanded the
judicially-created waiver rule articulated in Blue & Gold ... to all [bid-protest] situations,” and
that the plaintiff had “waived its right to protest [because it] had all knowledge relevant to its
[alleged errors] before the award.” Jd. at 693; see also MS Mot. at 30-31; Gov. Mot. at 13-14.
That argument failed to convince this Court, which explained that although COMINT, as
referenced in Synergy, did “state” Blue & Gold could apply to “pre-award situations,” Synergy
“tumed in part on GAO’s 10-day timeliness rule” because of the unique context of the previous
GAO protests. 141 Fed. Cl. at 696. Given the “unusual setting” of the A7SC case, the Court
therefore refused to apply Synergy. Id.

In idccess Technologies, Inc. v. United States, this Court again refused to apply Synergy to
find waiver and instead relied on ATSC to reject Synergy. 143 Fed. Cl. 521, 532 (2019). In
rejecting the government’s effort to use Synergy to expand the universe of waivable challenges,
this Court found convincing that “the procurement challenge discussed in Synergy had already
been rejected by the GAO on waiver grounds” and decided that the facts of the protest before it

“aligned more closely” with 47SC than the GAO-infused facts of Svuergy. Id.

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4. GAO Precedent Cited by Defendants Does Not Apply to AWS’s Evaluation
Challenges.

Having failed to identify any precedent in this forum to support its overreaching
interpretation of Blue & Gold, Defendants rely on the GAO’s decision in Adams & Associates,
Inc., Nos. B-417120, B-417125, 2019 WL 245909 (Comp. Gen. Jan. 16, 2019), which concluded
that a protestor waived its claims of bias and retaliation based on federal regulations governing
timeliness for GAO protests. See Gov. Mot. at 15-16; MS Mot. at 31. But Adams & Associates
is readily distinguishable from this protest on the facts. In Adams, the protestor argued the
procurement process was “irredeemably flawed in that any agency official from [the contracting
agency] or headquarters who reasonably could have been involved in this procurement is incapable
of fairly evaluating the protester’s proposals.” 2019 WL 245909 at *2. That clearly is not what
AWS is alleging here. Instead, AWS presumed that DoD officials were capable of carrying out
their source selection obligations in accordance with the presumption of good faith afforded to
them; it was not until AWS received its post-award debriefing that it became evident the
procurement officials had failed to do so, they had succumbed to improper presidential pressure,
and the evaluations and award decision were tainted by bias. Compl. JJ 174-84.

Moreover, the GAO’s decision was based on GAO timeliness regulations that do not apply
to this Court, and administrative decisions like Adams & Associates “are not binding on this court
and the absence of [Court of Federal Claims] precedent is not a reason for any court to” look to
them. Caddell Constr. Co. v. United States, 111 Fed. Cl. 49, 95-96 (2013). Indeed, in Sofera
Defense Solutions v. United States, this Court flatly rejected the Government’s attempt fo extend
the GAO’s waiver rules to bid protests in this Court, finding that the Government failed to
demonstrate how GAO’s formulation of waiver has “utility,” given that the GAO’s waiver rules

“rel[y] overmuch” on an “obscure distinction” between a “proposed corrective action [that] alters

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or fails to alter the ground rules for the competition (i.e., aspects that apply to all offerors),” and a
“proposed corrective action [that] does not alter the ground rules for the competition.” 118 Fed.
Cl. at 257 (internal quotations omitted). That “ground-rules” test is the exact test Defendants urge
this Court to adopt from Adams & Associates. See Gov. Mot. at 15. This Court should follow

Sotera and decline to do so.

The case law is therefore clear that Biue & Gold’s waiver rule does not reach any of AWS’s
claims. Indeed, this Court has regularly considered claims of bad faith and bias on the merits even
though it held that claims relating to the solicitation were waived. See, e.g., Price Gordon Servs.
v. United States, 139 Fed. Cl. 27, 50-54, 59-60 (2018) (holding bidder’s challenge to the
solicitation’s terms were waived but addressing supplementation of the administrative record
based on bias claims separately); i3 Cable & Harness LLC v. United States, 132 Fed. Cl. 495,
511-12, 516-18 (2017) (holding bidder’s challenge to the solicitation’s terms was waived but
addressing bias and bad faith claims regarding directed award on the merits); Open Spirit, LLC v.
United States, 131 Fed. Cl. 756, 781-82, 785-88 (2017) (finding waiver of objections to RFP
terms but addressing bias and bad faith claims on the merits and granting motion for
supplementation premised on bias claim); Optimization Consulting, Inc. v. United States, 115 Fed.
Cl. 78, 89-93, 95 (2013) (granting supplementation of the administrative record with documents
supporting protestor’s bias claim but finding waiver of objections to solicitation terms). The law
simply does not support the Defendants’ arguments in favor of dismissal.

B. Bine & Gold Should Not Be Extended to Apply to AWS’s Claims of Bias

Defendants’ strained analysis would require this Court to extend the Ble & Gold doctrine

far beyond its mtended purpose and, in doing so, gut the public policy rationales underlying the

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waiver rule in the first place. Blue & Gold is “an equitable, rather than jurisdictional bar,” Linc
Gov't Servs., LLC vy. United States, 96 Fed. Cl. 672, 698 (2010), based on the rationale of
“fairness,” Synergy, 133 Fed. Cl. at 738. If Blue & Gold were extended to claims of biased
evaluations and award decisions, the claims would be non-justiciable because they would either
be premature (if filed before award based on suspicion that such bias existed and might impact a
final agency decision) or late (if protestors wait for final agency action to determine whether bias
did impact the source selection). This “heads-I-win, tails-you-lose” approach would insulate
agency bias from judicial review—which would hardly promote the Federal Circuit’s goal of
“faimess” in creating this equitable limitation. See Synergy, 133 Fed. Cl. at 738. And contrary to
the purpose of promoting efficiency, see Blue & Gold, 492 F.3d at 1313-14, extending the waiver
doctrine to claims of bias would result in a flood of litigation after every tweet or negative news
cycle as protestors seek to preserve their claims (only to be told that the claims are not npe). The
Court should reject Defendants’ attempts to undermine Blue & Gold by advocating for its
overbroad application.

1. AWS’s Challenges Were Not Ripe Until DeD Awarded the JEDI Contract.

AWS’s claims pertain to errors in DoD’s proposal evaluations and were not ripe until DoD
made its award decision. The ripeness doctrine prevents a plaintiff from bringing “[a] claim [that]
is contingent upon future events that may or may not occur.” Sys. Application & Tech., Inc. v.
United States, 691 F.3d 1374, 1383 (Fed. Cir. 2012). By avoiding “‘premature adjudication,” the
ripeness rule “‘prevent[s] the courts ... from entangling themselves in abstract disagreements ...
and ... protect[s] the agencies from judicial interference until an administrative decision has been
formalized and its effects felt in a concrete way by the challenging parties.’” /d. (quoting Abbott

Labs. v. Gardner, 387 U.S. 136, 148-49 (1967)). Thus, for a claim to be ripe, “the challenged

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conduct [must] constitute[] a final agency action.” Jd. at 1384; see also Norton v. S. Utah
Wilderness All., 542 U.S. 55, 62 (2004) (APA provisions authorizing judicial intervention “all
imsist upon an ‘agency action.””).

A final agency action has two components: “‘First, the action must mark the
consummation of the agency’s decision-making process—it must not be of a merely tentative or
interlocutory nature. And second, the action must be one by which rights or obligations have been
determined, or from which legal consequences will flow.’” Sys. Application, 691 F.3d at 1383
(quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)) (internal quotation marks omitted).
Absent a final agency action, the mere “anticipation of a future violation is not sufficient to make
a claim ripe.” Brocade Comme’ns Sys., Inc. v. United States, 120 Fed. Cl. 73, 79 (2015). As the
Government has previously argued, “protest grounds that merely anticipate improper agency
action are speculative and premature.” Palantir USG, Inc. v. United States, 129 Fed. Cl. 218, 283
(2016); see also Harris Patriot Healthcare Sols., LLC v. United States, 95 Fed. Cl. 585, 596 (2010)
(“[S]peculation as to what the agency might do cannot give rise to a ripe controversy.”).

Each of the challenged counts hinges upon DoD’s proposal evaluations and award decision,
which AWS necessarily could not have challenged pre-award because there was no
“consunmation of the agency’s decision-making process” to protest. Sys. Application, 691 F.3d
at 1383. Although Defendants devote much attention to AWS’s allegations regarding President
Trump’s July 2019 statements about the JEDI Contract and Secretary Esper’s subsequent
announcement of the JEDI review in August 2019, see, e.g., MS Mot. at 38-39; Gov. Mot. at 19,
neither event constitutes a final agency action. Unlike formal agency procurement actions that are
“snemorialized” in writing (like corrective actions accompanied by formal memoranda, see Jacobs,

131 Fed. Cl. at 446-47, or solicitation amendments, see Svs. Application, 691 F.3d at 1384), these

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informal statements by President Trump and Secretary Esper in July and August 2019 were not
agency actions “by which rights or obligations [were] determined, or from which legal
consequences ... flow.” Jd. at 1383 (internal quotation marks omitted). Rather, it was only DoD’s
evaluations and award decision, which were made based on the procurement officials’ adoption of
that bias, that constituted agency actions AWS could protest. Accordingly, AWS’s mere
knowledge of President Trump’s statements did not make the challenged counts ripe.

Prior to DoD’s evaluation and award decision, any claim by AWS about impropriety in the
evaluation and decision process based solely on the President’s vitriol would have been speculative
and “contingent upon future events” (/.¢., evaluations and an award to Microsoft influenced by
bias) that might not have occurred at all. Sys. Application, 691 F.3d at 1383; see also Brocade,
120 Fed. Cl. at 79 (claim based on “future violation” is not ripe); Tenica & Assocs., LLC v. United
States, 123 Fed. Cl. 166, 172 (2015) (dismissing as premature a plaintiff's claims “about
procurement violations that it anticipate[d] the agency making”); cf Square One Armoring Serv.,
Inc. v. United States, 123 Fed. Cl. 309, 329 (2015) (dismissing bias challenge that “raise[d] purely
hypothetical arguments about future events”).

Nor would there have been any available redress. Although Defendants are quick to
criticize AWS for failing to raise its concerns sooner, they offer no practical insight as to what
actions AWS should have undertaken, and when it should have done so. Microsoft contends that
AWS should have “taise[d] [its] allegations in a timely pre-award protest filed no later than the
deadline set for FPRs (September 5, 2019).” MS Mot. at 39. But as noted above, the critical facts
giving rise to AWS’s claims did not materialize until well after September 5, 2019, and Microsoft
offers no reason why those facts, or the timing of them, can or should be ignored. See supra, pp.

3-4. And although Defendants contend that AWS could have sought an order requiring “DoD ...

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to take appropriate action, potentially including removal of any affected personnel,” MS Mot. at
41, AWS could not plausibly have sought meaningful “removal” of the President or the Secretary
of Defense. Nor could AWS have asked to remove “affected” personnel precisely because it had
no reason to believe that any specific personnel had succumbed to bias, bad faith, and conflicts of
interest until leaming of the baseless evaluation results and improper award decision. See supra,
pp. 3-4. Defendants’ inability to articulate exactly what AWS should have done (and when) only
underscores why AWS’s claims would not have been ripe prior to award. Defendants similarly
have not plausibly argued that there was any specific action that DoD took in connection with the
JEDI procurement that constituted a sufficiently concrete and formal agency action that would
make a pre-award bid protest ripe.

2. Extending Blue & Gold to AWS’s Claims Would Frustrate Judicial Review and
Result in A Cascade of Protective and Defensive Protests.

Finally, a finding that the challenged claims would not have been ripe until contract award
also promotes effective judicial review. Had AWS protested pre-award based on allegations of
bias, bad faith, and conflicts of interest, the Government would have undoubtedly argued that those
claims were not ripe. Defendants’ attempts to invoke the waiver mle would make it all but
impossible for a protestor to bring a claim for bias and bad faith, either pre- or post-award. Indeed,
Defendants’ argument is precisely the type of “heads-I-win, tails-you-lose” proposition that “has
no merit” because it is “tantamount to denying judicial review.” Vanguard Recovery Assistance
v. United States, 99 Fed. Cl. 81, 91-92 (2011). Any extension of Ble & Gold to the instant case
would frustrate judicial review and hamstring protestors from raising meritorious claims of bias.

Moreover, the uncertainty that would result from adopting Defendants’ position would
open the floodgates to defensive litigation as contractors seek to protect their claims. In an age

where the President tweets about companies and individuals alike on a daily basis, any contractor

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that draws his public ire would be required to protest every solicitation on which it is bidding or
intends to bid on mere suspicion. And when some contractors subinit hundreds of proposals to the
Government each year, the number of protests that would be filed at either the Court or the GAO
would drain administrative and judicial resources, and necessarily increase the costs of doing
business to both the Government and the taxpayer. The policy implications of Defendants’
expansive interpretation of Blue & Gold require the Court to reject it.

On Even If Blue & Gold Did Apply, AWS Did Not Waive Counts 3, 5, 6, and 7 Because
They Are Not Challenges to a “Patent Error” And AWS Has Good Cause

Even if this Court expanded Blue & Gold to reach challenges to the evaluation process,
AWS’s claims would nonetheless still be timely because the counts Defendants aim to dismiss
involve challenges to latent—not patent—errors, and only patent errors are waivable under Blue
& Gold, See 492 F.3d at 1313. Even COMINT s broad formulation of Blve & Gold did not disturb
its holding that the waiver rule only applies to patent errors: “A reasonable reading of COMINT
limits its extension of the waiver rule to patent errors in a solicitation occurring after bidding has
closed but before the contract has been awarded.” idccess, 143 Fed. Cl. at 531. AWS’s claims do
not concem a patent error.

An error is patent if it is “‘an obvious omission, inconsistency or discrepancy of
significance,” Per Aarsleff, 829 F.3d at 1312 (emphasis added) (quoting £.L. Hamm & Assocs.,
Inc. v. England, 379 F.3d 1334, 1339 (Fed. Cir. 2004)), and could have been “discovered by
reasonable and customary care,’” id. (quoting Analytical & Research Tech., Inc. v. United States,
39 Fed. Cl. 34, 46 (1997)). By contrast, a “latent” error “is a hidden or concealed defect which is
not apparent ... , could not be discovered by reasonable and customary care, and is not so patent
and glaring as to impose an affirmative duty on plaintiff to seek clarification.” /d. Therefore,

when a bidder is not—or cannot be—aware of a defect or its significance prior to award, its

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subsequent protest of that defect is not waived. See CW Gov’t Travel, Inc. v. United States, 110
Fed. Cl. 462, 482 (2013) (refusing to apply Blue & Gold’s waiver rule to a claim over Federal
Acquisition Regulation (“FAR”) violations in the procurement process because the bidder “could
not know that [the agency] would violate FAR” until post-award).

A tule that a bidder cannot waive what it does not know makes good sense: “No doctrine
or case requires a potential protestor to be clairvoyant or to police an agency’s general
noncompliance with the [acquisition regulations] on the possibility that such misfeasance might
become relevant in a protest.” Net-Star 1 Gov’t Consulting Inc. v. United States, 101 Fed. Cl. 511,
523 n.17 (2011) (emphasis added). But that is exactly what Defendants demand of AWS in their
motions. Defendants’ dismissal arguments focus almost exclusively on AWS’s inclusion in its
complaint of President Trump’s many disparaging statements about Amazon, Mr. Bezos, and the
Washington Post, arguing that because those statements “were made before the close of bidding
im September 2019,” “there is no question that AWS knew the factual basis for the claims ... well
before award.” MS Mot. at 38-39; see also Gov. Mot. at 19. Defendants’ myopic focus
misconstrues the substance of AWS’s claims and Blue & Gold’s patent error requirement.

AWS does not allege that the JEDI award decision should be overturned simply because
the President has been hostile toward Mr. Bezos, Amazon, and the Washington Post. Rather, as
the Government itself observes in its response to AWS’s Motion to Supplement the Administrative
Record:

[T]he relevant question in this protest is not whether the President dislikes Amazon,

but rather whether the source selection officials—the Government personnel who

actually evaluated AWS’s and Microsoft’s proposals and decided which offeror

would receive the JEDI coutract—exhibited bias against AWS in this procurement.

Def.’s Resp. Opp’n to Pl.’s Mot. to Supplement (‘““Gov. Opp’n Supplement”) at 15, ECF No. 140.

As troubling as the President’s open hostility towards Amazon may be, it is the effec? of the

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President’s bias, as demonstrated by DoD’s proposal evaluations and award decision, that forms
the basis for the claims—and that effect was neither apparent, much less “patent,” during the
solicitation. E.Z. Hamm, 379 F.3d at 1342 (holding that waiver rules do not apply to latent errors);
see also Distributed Sols., Inc. v. United States, 106 Fed. Cl. 1, 12 (2012) (claims that agency took
actions to “steer the award” to the desired winner are not patent errors); Ernst & Young, LLP v.
United States, 136 Fed. Cl. 475, 507 (2018) (conflict of interest claim where plaintiff did not know
about the conflicted bidder’s involvement with the solicitation was a latent error that was not
waived).4

For the same reasons, even if the Court were to find that Bie & Gold’s waiver rule applied
here, AWS’s claims would still be timely because AWS had good cause not to raise these protest
grounds prior to award. Until AWS received its post-award debriefing, there was nothing that
AWS could have “discovered by reasonable and customary care” that would have revealed the
bias, bad faith, or conflicts of interest that influenced the evaluations and award decision. See Per
Aarsleff, 829 F.3d at 1312. To the contrary, AWS was entitled to rely on the presumption that
DoD procurement officials were acting in good faith and that the procurement process was being
carried out consistent with the FAR. FirstLine Transp. Sec., Inc. v. United States, 107 Fed. C1.
189, 207 (2012) (holding that “any challenge to [an agency’s incomplete] evaluation process” 1s
“premature” because courts “must presume that [agency] officials will act in good faith”); see also

COMINT, 700 F.3d at 1382 (“[W]here bringing the challenge prior to the award is not practicable,

 

* Defendants’ argument that AWS should have brought a bias and bad faith claim upon Secretary
Esper’s review of the JEDI procurement process in August 2019 (see, e.g., MS Mot. at 39;
Gov. Mot. at 19) fails for the similar reason that there was nothing patently erroneous about
his conducting a review at that time. Indeed, AWS’s concems about Secretary Esper’s
involvement did not fully materialize until the troubling circumstances regarding his recusal
in October 2019, which were then confirmed by DoD’s blatantly erroneous award decision that
could only be understood as the product of bias and bad faith.

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it may be brought thereafter.”); see also Barnum, 779 F.3d at 1381 (noting bidder had “not
challenged any of the procedures made available to it as unduly burdensome or impractical”).
Therefore, AWS had good cause to not protest the challenged claims prior to award, and the claims
are timely.

D. The Court Need Not Decide the Motions for Partial Dismissal Prior to Ruling on
AWS’s Motion to Supplement the Administrative Record

Defendants attempt to dodge the Court’s consideration of AWS’s Motion to Supplement
the Administrative Record by equating the timing of AWS’s bias claims with the merits of its
claims. Gov. Opp’n Supplement at 14-15. This Court need not resolve the motions for partial
dismissal (which concern the timeliness of AWS’s claims) before it grants AWS’s request for
supplementation (which concems whether AWS’s claims are well-grounded). See COMINT Sys.
Corp. v. United States, 100 Fed. Cl. 159, 169 (2011) (“Timeliness of plaintiffs’ protests is an
entirely separate and distinct matter that bears no relation to the requirement that the [agency]
produce a complete agency record.”). As demonstrated above, AWS’s claims are timely filed.
The Government cannot evade AWS’s requests to supplement the administrative record with
relevant evidence of bias and bad faith and to seek discovery on its claims.

CONCLUSION

Defendants’ dismissal motions are based on a misreading and strained interpretation of
Biue & Gold and its progeny. This Court should not expand Bize & Gold to the bad faith and bias
claims here. That result would frustrate this Court’s review and encourage—if not require—
litigants in other cases to reflexively file defensive and protective protests. That result is not
consistent with this Court’s precedents or with any sensible and workable bid protest regime.

Defendants’ motions should be denied.

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